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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION
   UNITED STATES OF AMERICA,
   ex rel. PAULA C. LORONA and
   REID POTTER,

                     Plaintiffs-Relators,

   v.                                                                      Case No. 3:15-cv-959-J-34JRK

   INFILAW CORPORATION, et al.,

                     Defendants.


                             IMPORTANT INFORMATION ABOUT YOUR CASE
                                    PLEASE READ AND FOLLOW

           TAKE NOTICE, that in accordance with Local Rule 3.05, this action is designated as a
   TRACK TWO CASE. The Court's goal is to try most Track Two cases within 12-18 months of
   filing. The filing party (that is, the party that instituted suit in this Court) is responsible for
   serving a copy of this Notice and its attachments upon all other parties. The parties should
   conduct a case management conference (either in person or by telephone1) and file their Case
   Management Report no later than 60 days after service or 40 days after the appearance of any
   defendant, whichever is sooner.2 In preparing their Report, the parties shall consult the Federal
   Rules of Civil Procedure and the Local Rules (available from the Clerk or at
   www.flmd.uscourts.gov). http://www.flmd.uscourts.gov). Counsel for all parties share the obligation
   to timely comply with the requirements of Local Rule 3.05 and are reminded that they must do so
   despite the pendency of any undecided motions. All parties must send courtesy copies to
   chambers of all filings that exceed 25 pages, inclusive of exhibits, regardless of whether the filing
   is done electronically or in paper.

          The parties are advised that if they fail to use the attached Case Management Report
   form, the Court will set a schedule and select a mediator as the Court deems appropriate.

   Date: April 26, 2018                                         ELIZABETH M. WARREN, CLERK
                                                                By: s/JW
                                                                     Deputy Clerk
   Copies to:        Counsel of Record
                     Pro Se Parties
   Attachments:      Case Management Report form
                     AO 85 Consent to Magistrate Judge Jurisdiction form




         1
          If all parties agree to conduct the case management conference by telephone, they may do so
   without filing a motion with the Court.
        2
         Local Rule 3.05(c)(2) sets forth different deadlines. The deadlines in this notice enable the Court to
   comply with an amendment to Federal Rule of Civil Procedure 16(b)(2) effective December 1, 2015.




                                                                                             Updated January 2016
